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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE: PHILIPS RECALLED CPAP,                     )
  BI-LEVEL PAP, AND MECHANICAL                      )
  VENTILATION PRODUCTS                              ) Master Docket: Misc. No. 21-1230-JFC
  LITIGATION                                        )
                                                    )
                                                    ) MDL No. 3014
  This Document Relates to:                         )
  King v. Cornerstone Medical                       )
  Services—Midwest LLC, et al.                      )
  Case No. 2:24-CV-1693-JFC                         )

                 THE PHILIPS DEFENDANTS’ NOTICE OF
       SUPPLEMENTAL AUTHORITY IN OPPOSITION TO MOTION TO STAY

        On February 12, 2025, Plaintiff Derrick King filed a Motion to Stay Implementation of the

Private Master Settlement Agreement for Personal Injury Claims while his Petition for Writ of

Mandamus (“Mandamus Petition”) remains pending before the U.S. Court of Appeals for the Third

Circuit, ECF No. 3139. On March 3, 2025, the U.S. Court of Appeals for the Third Circuit issued

the Per Curiam Opinion and Order attached hereto as Exhibit A denying King’s Mandamus

Petition in its entirety.




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Dated: March 4, 2025                  Respectfully submitted,


                                      /s/ John P. Lavelle , Jr.

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                              CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2025, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF filing

system.

/s/ John P. Lavelle, Jr.
John P. Lavelle, Jr




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